THE COURT.
Pursuant to a stipulation entered into between the petitioner and The State Bar of California, it is ordered that the order of this court, dated October 31, 1932, placing this matter on the calendar for hearing in San Francisco, on January 3, 1933, at 10 o'clock A.M., be and the same is hereby vacated and set aside.
[1] It is further ordered that the petitioner, George W. Lupton, Jr., be and he is hereby publicly reprimanded for his participation in the transactions complained of before The State Bar of California, as being conduct violative of the principles, duties and ethics of a counselor-at-law, but that, pursuant to said stipulation, the recommendation of the Board of Governors of The State Bar of California to the court that petitioner be suspended from the practice of the law for a period of three months for his participation in said transactions be not approved.
This order is substituted in lieu of granting said recommendation and does constitute the public reprimand stipulated by the parties. *Page 57 